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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ERR CONTENT IP, LLC,
     Plaintiff,
                                                     Civil Action No. 2:24-cv-01064
v.

PANASONIC CORPORATION OF NORTH
                                                     JURY TRIAL DEMANDED
AMERICA,
     Defendant


                           PLAINTIFF’S ORIGINAL COMPLAINT

          Plaintiff Err Content IP, LLC (“Err”) files this Original Complaint and demand for jury

trial seeking relief from patent infringement of the claims of U.S. Patent No. 10,721,542 (“the ‘542

patent”) (referred to as the “Patent-in-Suit”) by Panasonic Corporation of North America

(collectively, “Panasonic” or “Defendant”).

     I.      THE PARTIES

     1. Plaintiff Err Content IP, LLC is a Texas limited liability corporation with its principal

place of business located in Austin, Texas.

     2. On Information and belief, Defendant Panasonic Corporation of North America is a

corporation organized and existing under the laws of the Delaware with a principal office located

in New Jersey and regular and established place of business at 3461 Plano Pkwy The Colony, TX,

75056.                          See            https://www.dnb.com/business-directory/company-

profiles.panasonic_corporation_of_north_america.3d93b4465685b94db20f8ac1c9ac0a43.html.

Defendant is registered to do business in Texas and has may be served via its registered agent,

Panasonic Corporation of North America, 251 Little Falls Drive, Wilmington, Delaware 19808, at

its place of business, or wherever else they may be found.



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    II.     JURISDICTION AND VENUE

    3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

    4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Texas and this judicial district; (ii) Defendant

has purposefully availed itself of the privileges of conducting business in the State of Texas and

in this judicial district; and (iii) Plaintiff’s cause of action arises directly from Defendant’s business

contacts and other activities in the State of Texas and in this judicial district.

    5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and has a regular and established place of business in this District.

Further, venue is proper because Defendant conducts substantial business in this forum, directly

or through intermediaries, including: (i) at least a portion of the infringements alleged herein; and

(ii) regularly doing or soliciting business, engaging in other persistent courses of conduct and/or

deriving substantial revenue from goods and services provided to individuals in Texas and this

District.

    III.    INFRINGEMENT

    A. Infringement of the ‘542 Patent

    6. On July 21, 2020, U.S. Patent No. 10,721,542 (“the ‘542 patent”, included as Exhibit A

and part of this complaint) entitled “Method and Device for Providing a Main Content and an Extra

content to a User Through Reference Item” was duly and legally issued by the U.S. Patent and

Trademark Office. Plaintiff owns the ‘542 patent by assignment.




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   7. The ‘542 patent relates to systems and methods for providing a main content and an extra

content to a user by accessing said extra content through a reference item . The method includes

receiving said main content from a first source and displaying said main content by said first device

. Also , based on said reference item , said extra content is retrieved and / or received from a second

source and simultaneously displayed together with said main content on said first device . Or said

reference item may be forwarded to a second device , and thereby said extra content is retrieved

and / or received from a second source by said second device and , simultaneously , the main

content is displayed on said first device and the extra content is displayed on said second device.

   8. Defendant develops, manufactures, maintains, operates, sells and administers systems and

methods for displaying content from sources that infringes one or more of claims of the ‘542

patent, including one or more of claims 1-14, literally or under the doctrine of equivalents.

Defendant puts the inventions claimed by the ‘542 Patent into service (i.e., uses them); but for

Defendant’s actions, the claimed-inventions embodiments involving Defendant’s products and

services would never have been put into service. Defendant’s acts complained of herein caused

those claimed-invention embodiments as a whole to perform, and Defendant’s procurement of

monetary and commercial benefit from it.

   9. Support for the allegations of infringement may be found in the preliminary exemplary

table attached as Exhibit B. These allegations of infringement are preliminary and are therefore

subject to change.

   10. Defendant has and continues to induce infringement. Defendant has actively encouraged

or instructed others (e.g., its customers and/or the customers of its related companies), and

continues to do so, on how to use its products and services (e.g., displaying content from sources)

such as to cause infringement of one or more of claims 1-14 of the ‘542 patent, literally or under



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the doctrine of equivalents. Moreover, Defendant has known of the ‘542 patent and the technology

underlying it from at least the filing date of the lawsuit.1 For clarity, direct infringement is

previously alleged in this complaint.

      11. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

or instructed others (e.g., its customers and/or the customers of its related companies), and

continues to do so, on how to use its products and services (e.g., displaying content from sources)

and related services such as to cause infringement of one or more of claims 1-14 of the ‘542 patent,

literally or under the doctrine of equivalents. Moreover, Defendant has known of the ‘542 patent

and the technology underlying it from at least the filing date of the lawsuit.2 For clarity, direct

infringement is previously alleged in this complaint.

      12. Defendant has and continues to contributorily infringe. Defendant has actively encouraged

or instructed others (e.g., its customers and/or the customers of its related companies), and

continues to do so, on how to use its products and services (e.g., instructing customers and others

on the use of displaying content from sources and related systems through its website and product

instruction manuals) such as to cause infringement of one or more of claims 1-14 of the ‘542

patent, literally or under the doctrine of equivalents. Moreover, Defendant has known of the ‘542

patent and the technology underlying it from at least the filing date of the lawsuit.3 For clarity,

direct infringement is previously alleged in this complaint. The product’s and services’ only

reasonable use is an infringing use and there is no evidence to the contrary. The product and

service is not a staple commercial product and Defendant had reason to believe that the customer’s

use of the product and/or service would be an infringing use. As shown on Defendant’s website



1
  Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.
2
  Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.
3
  Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.

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at          https://www.panasonic.com/us/consumer/televisions-learn/televisions/how-to-cast-your-

phone-to-your-panasonic-tv.html, Defendant offers the products and/or service with instruction or

advertisement that suggests an infringing use.

     13. Defendant has caused and will continue to cause Plaintiff damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ‘542 patent.

     IV.         CONDITIONS PRECEDENT

           14.     Plaintiff has never sold a product.        Upon information and belief, Plaintiff

predecessor-in-interest has never sold a product. Plaintiff is a non-practicing entity, with no

products to mark. Plaintiff has pled all statutory requirements to obtain pre-suit damages. Further,

all conditions precedent to recovery are met. Under the rule of reason analysis, Plaintiff has taken

reasonable steps to ensure marking by any licensee producing a patented article.

     15.           Plaintiff and its predecessors-in-interest have entered into settlement licenses with

several defendant entities, but none of the settlement licenses were to produce a patented article,

for or under the Plaintiff’s patents. Duties of confidentiality prevent disclosure of settlement

licenses and their terms in this pleading but discovery will show that Plaintiff and its predecessors-

in-interest have substantially complied with Section 287(a). Furthermore, each of the defendant

entities in the settlement licenses did not agree that they were infringing any of Plaintiff’s patents,

including the Patents-in-Suit, and thus were not entering into the settlement license to produce a

patented article for Plaintiff or under its patents. Further, to the extent necessary, Plaintiff will

limit its claims of infringement to method claims and thereby remove any requirement for marking.

     16.           To the extent Defendant identifies an alleged unmarked product produced for

Plaintiff or under Plaintiff’s patents, Plaintiff will develop evidence in discovery to either show

that the alleged unmarked product does not practice the Patents-in-suit and that Plaintiff has



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substantially complied with the marking statute. Defendant has failed to identify any alleged

patented article for which Section 287(a) would apply. Further, Defendant has failed to allege any

defendant entity produce a patented article.

    17.          The policy of § 287 serves three related purposes: (1) helping to avoid innocent

infringement; (2) encouraging patentees to give public notice that the article is patented; and (3)

aiding     the       public     to      identify       whether    an     article     is   patented.

These policy considerations are advanced when parties are allowed to freely settle cases without

admitting infringement and thus not require marking. All settlement licenses were to end litigation

and thus the policies of §287 are not violated. Such a result is further warranted by 35 U.S.C. §286

which allows for the recovery of damages for six years prior to the filing of the complaint.

    18.          For each previous settlement license, Plaintiff understood that (1) the settlement

license was the end of litigation between the defendant entity and Plaintiff and was not a license

where the defendant entity was looking to sell a product under any of Plaintiff’s patents; (2) the

settlement license was entered into to terminate litigation and prevent future litigation between

Plaintiff and defendant entity for patent infringement; (3) defendant entity did not believe it

produced any product that could be considered a patentable article under 35 U.S.C. §287; and, (4)

Plaintiff believes it has taken reasonable steps to ensure compliance with 35 U.S.C. §287 for each

prior settlement license.

    19.          Each settlement license that was entered into between the defendant entity and

Plaintiff was negotiated in the face of continued litigation and while Plaintiff believes there was

infringement, no defendant entity agreed that it was infringing. Thus, each prior settlement license

reflected a desire to end litigation and as such the policies of §287 are not violated.

   V.      JURY DEMAND



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          Plaintiff hereby requests a trial by jury on issues so triable by right.

    VI.       PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief as follows:

 a.       enter judgment that Defendant has infringed the claims of the Patent-in-Suit;

 b.       award Plaintiff damages in an amount sufficient to compensate it for Defendant’s

          infringement of the Patent-in-suit in an amount no less than a reasonable royalty or lost

          profits, together with pre-judgment and post-judgment interest and costs under 35 U.S.C.

          § 284;

 c.       award Plaintiff an accounting for acts of infringement not presented at trial and an award

          by the Court of additional damage for any such acts of infringement;

 d.       declare this case to be “exceptional” under 35 U.S.C. § 285 and award Plaintiff its

          attorneys’ fees, expenses, and costs incurred in this action;

 e.       declare Defendant’s infringement to be willful and treble the damages, including attorneys’

          fees, expenses, and costs incurred in this action and an increase in the damage award

          pursuant to 35 U.S.C. § 284;

  f.      a decree addressing future infringement that either (if) awards a permanent injunction

          enjoining Defendant and its agents, servants, employees, affiliates, divisions, and

          subsidiaries, and those in association with Defendant from infringing the claims of the

          Patent-in-suit, or (ii) awards damages for future infringement in lieu of an injunction in an

          amount consistent with the fact that for future infringement the Defendant will be an

          adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

          future infringement will be willful as a matter of law; and

 g.       award Plaintiff such other and further relief as this Court deems just and proper.



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                                  Respectfully submitted,

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